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UNITED s'rATEs DISTRICT CoURT Hi"“"r'} ' f ""'(
WESTERN DISTRICT OF TENNESSEE »]» r,..\¥, __9 PM q_ l
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Julie L. Thomas ) ';§L;§;§E'i:::§.;: ll iii
) `=i'-', J. wl § -i tv a.. .“H c
Plaintiff, )
)
v. ) Case No. 03-2800-DP
)
Methodist Healthcare and Methodist )
Healthcare Mernphis Hospitals, and )
Randall “Randy” Secrease )
)
Defendants. )

 

C()NSENT PROTECTIVE ORDER

 

The parties hereto, having consented through their respective attorneys to the entry of this
Protective Order, pursuant to Rule 26(c) of the Federal Rules of Civil Procedure, in order to
protect the confidentiality of certain information, to protect the privacy of third parties, and to
facilitate discovery, the Court enters the following Protective Order.

l. Plaintiff seeks personnel flleS, employment records, and other information
relating to a former employee of Defendants Methodist Healthcare and Methodist Healthcare
Mernphis Hospitals (hereinafter collectively referred to as “Methodist”). Defendants Methodist
seek medical records regarding Plaintiff, Julie L. Thomas. Defendants have sent Plaintift` a
Medical Records Authorization (herinafter “Authorization”) that complies with the provisions of
the Health Insurance Portability and Accountability Act (hereinafter “HIPAA”) and Plaintiff has
or Will execute the Authorization.

2. The personnel and medical information sought by the parties contain confidential

information Responsive documents produced by either party shall be used only for purposes of

This document entered on the docket sheet in compliance

With Ru|e 58 and/or 79 (a} FHGP on 2" q 'Ob

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this litigation and not for any other purpose. In addition, all protected health information as
defined by HIPAA will be kept in accordance with applicable HIPAA laws and regulationsl This
information shall be treated by the parties and their counsel as confidential. Unless otherwise
agreed by the parties in writing, confidential material shall not be disclosed, directly or

indirectly, by the party to whom such material is produced to anyone other than the following

persons:

a. Plaintiff or Defendants in this action;

b. Counsel for the parties to this action and employees or agents of such counsel
engaged in the preparation of this action;

c. Any judicial officer of the District Court of the Western District of Tennessee and
any Appellate Court, as well as clerks and court reporters and members of the
Court staff as the Court deems appropriate

d. Any independent, non-party consultants or experts specially retained to assist
counsel for the parties in preparation of this action; and

e. Any person whose testimony will be given at a deposition in this action or the
trial of this action or any person who has been disclosed as a potential witness in
the trial of this action.

3. The inadvertent production of documents or things privileged from discovery

shall not constitute a waiver of any privilege, and all copies of privileged documents or things
inadvertently produced shall be returned to the producing party upon written request.

4. Any such confidential material shall be used only for the strict purposes of this
pending litigation, as may be appealed.

5. If a witness is shown documents protected by this Order, that person shall be
advised by counsel of this Order, and its meaning and purpose Counsel, by their signatures
below, expressly affirm that they have advised their respective clients of the obligations imposed

by the terms of this Consent Protective Order. Each witness and/or client who is shown

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confidential materials must sign Attachment A. Upon request for the purpose of enforcing this
Order, counsel will provide a copy of the signed Attachment to opposing counsel. If the parties
cannot resolve any disagreement with respect to a request to provide the signed Attachment, they
shall apply to the Court for a determination on the issue.

6. The terms of this Consent Protective Order apply to disclosures made during the
course of discovery and the parties’ Rule 26 disclosures and shall remain in effect beyond the
termination of this litigation. lt is anticipated that confidential material shall be filed with the
Court under seal, if at all.

7. The parties further agree that any and all copies of confidential material shall be
returned to the producing party or destroyed at the conclusion of this pending litigation, as may
be appealed

The Court, finding the Protective Order consented to by the parties to be proper and
appropriate, hereby orders that any confidential information produced in response to discovery
requests propounded in this matter, and in furtherance of the parties’ obligations under the
disclosure requirements provided in Ruie 26 of the Federal Rules of Civil Procedure, shall be
subject to the terms set forth above and shall only be disclosed to those individuals in Paragraphs
l (a) _ (e) of this Order.

IT IS SO ORDERED.

Entered this j_ day of MOW?)/ , 2005

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Respectfully submitted:

@…s/

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Counsel for Plaintiff

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ATTACHMENT A
I, , have read the Consent Protective Order in Case
No. 03-2800-DP, Julie L. Thomas v. Methodist Healthcare and Methodist Healthcare Memphis
Hospitals, and Randall “Randy” Secrease, and agree to abide by the terms and conditions set

forth therein.

DATED:

 

 

Signature

Witness:

DATED:

 

 

Signature

 

Print Name

Witness:

DATED:

 

 

Signature

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 18 in
case 2:03-CV-02800 was distributed by fax, mail, or direct printing on
May 9, 2005 to the parties listed.

ESSEE

 

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Honorable Bernice Donald
US DISTRICT COURT

